        Case 1:22-cr-00015-APM            Document 21     Filed 01/24/22          Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA

                                                                                22-cr-15
        vs.                                           Criminal Number


Edward Vallejo
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:                (Please check one)


 9■      CJA                9      RETAINED             9    FEDERAL PUBLIC DEFENDER


                                             /s/ Matthew J. Peed
                                                                  (Signature)



                                             PLEASE PRINT THE FOLLOWING INFORMATION:


                                           Matthew Peed (Bar No. 503328)
                                                          (Attorney & Bar ID Number)

                                           Clinton & Peed
                                                                 (Firm Name)
                                           1775 Eye St. NW, Suite 1150
                                                               (Street Address)
                                           Washington, DC 20006
                                             (City)               (State)            (Zip)
                                           (202) 919-9491
                                                             (Telephone Number)
